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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY


   IN RE: JOHNSON & JOHNSON                      Civil Action No. 3:16-md-2738-
   TALCUM POWDER PRODUCTS                        MAS-RLS
   MARKETING, SALES
   PRACTICES, AND PRODUCTS                       MDL No. 2738
   LIABILITY LITIGATION


  THIS DOCUMENT RELATES TO ALL CASES


  MOTION AND NOTICE OF MOTION OF THE PLAINTIFFS’ STEERING
   COMMITTEE TO EXCLUDE THE OPINIONS OF DR. JEFF BOYD


        PLEASE TAKE NOTICE, that pursuant to Fed. R. Evid. 104(a), 403, 702,

  and 703, the Plaintiffs’ Steering Committee (“PSC”) hereby moves to exclude the

  opinions and testimony of Dr. Jeff Boyd.

        For the reasons set forth more fully in the following accompanying materials,

  the Court should grant the PSC’s motion:

        • The Plaintiffs’ Steering Committee’s Brief Regarding the Rule 702
          Standard;

        • The Plaintiffs’ Steering Committee’s Memorandum of Law in
          Support of Its Motion to Exclude the Opinions of Dr. Jeff Boyd;
          and

        • Certification of Counsel with attached Exhibits.
        A proposed form of order is attached.




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  Dated:     August 2, 2024         Respectfully submitted,

                                    /s/ Michelle A. Parfitt
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                                    Michelle A. Parfitt
                                    ASHCRAFT & GEREL, LLP
                                    1825 K Street, NW, Suite 700
                                    Washington, DC 20006
                                    Tel: 202-783-6400
                                    Fax: 202-416-6392
                                    mparfitt@ashcraftlaw.com
                                    34TU                            U34T




                                    /s/ P. Leigh O’Dell
                                    P. Leigh O’Dell
                                    BEASLEY, ALLEN, CROW, METHVIN,
                                    PORTIS & MILES, P.C.
                                    218 Commerce Street
                                    Montgomery, AL 36104
                                    Tel: 334-269-2343
                                    Fax: 334-954-7555
                                    Leigh.odell@beasleyallen.com
                                    34T                                     34T




                                    Plaintiffs’ Co-Lead Counsel

                                    /s/ Christopher M. Placitella
                                    Christopher M. Placitella
                                    COHEN, PLACITELLA & ROTH, P.C.
                                    127 Maple Avenue
                                    Red Bank, NJ 07701
                                    Tel: 732-747-9003
                                    Fax: 732-747-9004
                                    cplacitella@cprlaw.com
                                    34T                       34T




                                    Plaintiffs’ Liaison Counsel




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  PLAINTIFFS’ EXECUTIVE COMMITTEE:

  Warren T. Burns                              Richard Golomb
  BURNS CHAREST LLP                            GOLOMB & HONIK, P.C.
  500 North Akard Street, Suite 2810           1515 Market Street, Suite 1100
  Dallas, TX 75201                             Philadelphia, PA 19102
  Tel: 469-904-4551                            Tel: 215-985-9177
  Fax: 469-444-5002                            rgolomb@golombhonik.com
  wburns@burnscharest.com

  Hunter J. Shkolnik
  NAPOLI SHKOLNIK PLLC
  360 Lexington Avenue, 11thFloor New York,
  NY 10017
  Tel: 212-397-1000
  hunter@napolilaw.com


  PLAINTIFFS’ STEERING COMMITTEE:

  Laurence S. Berman                           Timothy G. Blood
  LEVIN, SEDRAN & BERMAN LLP                   BLOOD, HURST & O’REARDON,
  510 Walnut Street, Suite 500                 LLP
  Philadelphia, PA 19106                       501 West Broadway, Suite 1490
  Tel: 215-592-1500                            San Diego, CA 92101
  Fax: 215-592-4663                            Tel: 619-338-1100
  lberman@lfsblaw.com                          Fax: 619-338-1101
                                               tblood@bholaw.com
                                               34T                     34T




  Sindhu S. Daniel                             Jeff S. Gibson
  BARON & BUDD, P.C.                           WAGNER REESE, LLP
  3102 Oak Lawn Avenue, #1100                  11939 N. Meridian St.
  Dallas, TX 75219                             Carmel, IN 46032
  Tel: 214-521-3605                            Tel: (317) 569-0000
  Fax: 214-520-1181                            Fax: (317) 569-8088
  sdaniel@baronbudd.com                        jgibson@wagnerreese.com




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  Kristie M. Hightower                        Daniel R. Lapinski
  LUNDY, LUNDY, SOILEAU & SOUTH,              MOTLEY RICE LLC
  LLP                                         210 Lake Drive East, Suite 101
  501 Broad Street                            Cherry Hill, NJ 08002
  Lake Charles, LA 70601                      Tel: 856-667-0500
  Tel: 337-439-0707                           Fax: 856-667-5133
  Fax: 337-439-1029                           dlapinski@motleyrice.com
  khightower@lundylawllp.com

  Victoria Maniatis                           Carmen S. Scott
  SANDERS PHILLIPS GROSSMAN, LLC              MOTLEY RICE LLC
  100 Garden City Plaza, Suite 500            28 Bridgeside Boulevard
  Garden City, NJ 11530                       Mount Pleasant, SC 29464
  Tel: 516-640-3913                           Tel: 843-216-9162
  Fax: 516-741-0128                           Fax: 843-216-9450
  vmaniatis@thesandersfirm.com                cscott@motleyrice.com


  Christopher V. Tisi
  LEVIN PAPANTONIO
  316 South Baylen St.
  Pensacola, FL 32502
  (850) 435-7000
  ctisi@levinlaw.com
  34T              34T




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